Case 6:16-cr-00017-JDK-JDL          Document 263        Filed 01/18/17      Page 1 of 2 PageID #:
                                            675



                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                                                   § CASE NUMBER 6:16-CR-00017-RC
 v.                                                §
                                                   §
                                                   §
 BRANDON SCOTT CHEATUM (7),                        §
                                                   §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable John D. Love, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

Judge John D. Love conducted a hearing in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before

the United States Magistrate Judge. The magistrate judge recommended that the court accept the

Defendant’s guilty plea. He further recommended that the court adjudge the Defendant guilty on

Count One of the Information filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

agreement until after review of the presentence report. The court ORDERS the Defendant’s

attorney to read and discuss the presentence report with the Defendant, and file any objections to

the report BEFORE the date of the sentencing hearing.
Case 6:16-cr-00017-JDK-JDL        Document 263        Filed 01/18/17     Page 2 of 2 PageID #:
                                          676



       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Brandon Scott Cheatum (7), is

adjudged guilty as to Count One of the Information charging a violation of 21 U.S.C. § 841(A)(1)

-   POSSESSION           WITH   THE     INTENT      TO     DISTRIBUTE        OR    DISPENSE

(METHAMPHETAMINE, COCAINE, HEROIN, CRACK COCAINE, MARIJUANA).



          So Ordered and Signed
          Jan 18, 2017
